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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff-Respondent,                       Criminal Case No. 10-20235
 v.                                                Civil Case No. 14-12838
                                                   HON. DENISE PAGE HOOD
 ALEXIS REDD RODGERS (D-5),

      Defendant-Petitioner.
 ________________________________/

           ORDER DENYING APPLICATION TO PROCEED
       WITHOUT PREPAYMENT OF FEES OR COSTS ON APPEAL

       On October 31, 2014, the Court entered a Judgment and Order Denying

 Defendant Alexis Redd Rodgers’ Motion to Vacate, Set Aside or Correct Sentence

 under 28 U.S.C. § 2255. (Doc. Nos. 474, 475) In its Order, the Court declined to

 issue a certificate of appealability. (Doc. No. 474) Rodgers filed an untimely and

 unsigned Notice of Appeal on March 5, 2015, along with an Application to Proceed

 Without Prepayment of Fees or Costs on Appeal. (Doc. Nos. 491, 492)

       The Court finds that any appeal from the Court’s October 31, 2014 Order would

 be frivolous for the reasons set forth in the Order and because Rodgers filed an

 untimely Notice of Appeal. Rule 4(a)(1)(A) of the Rules of Appellate Procedure

 provides that a Notice of Appeal must be filed within 30 days after entry of the

 judgment or order appealed from. Fed. R. App. P. 4(a)(1)(A). The Court’s docket
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 indicates Rodgers was served with a copy of the October 31, 2014 Order and

 Judgment and there is no indication that such was returned as undeliverable to the

 Court. Appeal of the October 31, 2014 Order and Judgment would be frivolous and

 would not be taken in good faith. 28 U.S.C. § 1915(a)(3); Coppedge v. United States,

 369 U.S. 438, 445 (1962), McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir.

 1997)(overruled on other grounds by Jones v. Bock, 549 U.S. 199 (2007)).

       Accordingly,

       IT IS ORDERED that Defendant Alexis Redd Rodgers’ Application to Proceed

 Without Prepayment of Fees or Costs on Appeal (Doc. No. 492) is DENIED.


                          S/Denise Page Hood
                          Denise Page Hood
                          United States District Judge

 Dated: March 31, 2015

 I hereby certify that a copy of the foregoing document was served upon counsel of
 record on March 31, 2015, by electronic and/or ordinary mail.

                          S/LaShawn R. Saulsberry
                          Case Manager




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